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                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 PIKEVILLE DIVISION

IN RE:                                                                                  CHAPTER 7
         JUSTIN TODD TROUT
               DEBTOR                                                       CASE NO. 18-70695-grs

         DISCLOSURE OF ADDITIONAL FEES FOR COUNSEL FOR DEBTOR

        NOTICE IS HEREBY GIVEN that pursuant to the Bankruptcy Rules of this Court
requiring counsel for the debtor to disclosure all sources of compensation, it is hereby disclosed
that Bunch & Brock PSC as Debtor’s Counsel received $810 from Debtor’s wife, Taylor Trout,
on June 7, 2019, relating to Counsel’s appearance at her deposition for $500 and for drafting and
service of the Amendment to Schedule B and Statement of Financial Affairs [Doc. #49] for $310.
Bunch & Brock has not agreed to share the above compensation with any third party.

                                               Respectfully submitted,

                                               BUNCH & BROCK, PSC


                                               By:          /s/ Matthew B. Bunch
                                                       MATTHEW B. BUNCH, ESQ.
                                                       271 West Short Street
                                                       805 Security Trust Building
                                                       Lexington, Kentucky 40507
                                                       (859) 254-5522

                                               ATTORNEY FOR DEBTOR


                                  CERTIFICATE OF SERVICE

        This is to certify that this the 7th day of June 2019, a true and correct copy of the foregoing
served electronically by the Clerk of the Bankruptcy Court in the method established under
CM/ECF Administrative Procedures Manual and the Local Court Standing Order dated July 25,
2002, to all attorneys of record, including the U.S. Trustee and the Chapter 7 Trustee via CM/ECF,
the Debtor via email.


  /s/ Matthew B. Bunch
MATTHEW B. BUNCH
